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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                          PLAINTIFF,

v.
                                                                     Case No. 1:21-mj-00020-GMH
                                                                     Mag. Judge: G. Michael Harvey
ADAM JOHNSON

                           DEFENDANT.

                                                     /


  UNOPPOSED APPLICATION FOR A CONTINUANCE PURSUANT TO LCrR 57.2


          COMES NOW the defendant, ADAM C. JOHNSON, through his attorney Charles

 Haskell 1 and respectfully moves this Honorable Court to continue the status conference set

 for Tuesday, January 19th at 1:00. In support thereof, the parties state as follows:

          1. On January 8, 2021, Mr. Johnson self-surrendered to the Federal Bureau of

 Investigation in the Middle District of Florida when he learned of the criminal complaint

 filed in this Honorable Court.

          2. He had his initial appearance on January 11, 2021, in Tampa, Florida, before

 Middle District of Florida Magistrate Judge Christopher P. Tuite on the criminal complaint

 charging Mr. Johnson with one count of Knowingly Entering or Remaining in any Restricted

 Building or Grounds Without Lawful Authority in violation of 18 U.S.C. 1752(a), one count

 of Theft of Government Property in violation of 18 U.S.C. 641, and one count of Violent

 Entry and Disorderly Conduct on Capitol Grounds in violation of 40 U.S.C. 5104(e)(2) and

 was advised of the charges against him. See U.S. v. Johnson, 8:21-mj-01020-CPT,

 (M.D.Fla.)

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  Mr. Haskell filed a motion to admit Attorneys Dan Eckhart and David Bigney pro hac vice on January 15, 2021.
See Docs. 6-7.
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       3. At the initial appearance, Mr. Johnson waived his right to a preliminary hearing in

this case and Magistrate Judge Tuite ordered him released on bond pending further

proceedings. Id. Doc. 10-11. Magistrate Judge Tuite also set a hearing before this Honorable

Court on January 19, 2021 at 1:00. The parties understand that this will be a status

conference.

       4. With the case just recently charged and attorneys Eckhart and Bigney’s pro hac

vice admission pending before this Honorable Court, Mr. Johnson would ask that the hearing

be rescheduled to sometime in February 2021. This additional time would also allow for the

parties to review and exchange discovery and meet to discuss the charges against Mr.

Johnson.

       5. Mr. Johnson would ask the court to make an interests of justice finding under the

Speedy Trial Act and exclude the days between now and the hearing. See 18 U.S.C. 3161(h).

       6. Special Assistant United States Attorney Jessica Arco was consulted on January

19, 2021 and does not oppose the continuance.

       WHEREFORE, pursuant to LCrR 57.2, Application for Continuance, the

undersigned request that the hearing be rescheduled to a date in February 2021.

       Dated this 19th day of January, 2021.         Respectfully submitted,


                                                     /s/ Charles R. Haskell
                                                     Charles R. Haskell
                                                     D.C. Bar No.: 888304007
                                                     641 Indiana Ave., NW
                                                     Washington, DC 20004
                                                     Tel. (202) 888-2728
                                                     Charles@CharlesHaskell.com
                                                     Counsel for Defendant




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                                      CERTIFICATE OF
                                         SERVICE

         I hereby certify that on January 19th, 2021 I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this

day on all counsel of record or pro se parties identified on the attached service list in the

manner specified, either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are not

authorized to receive electronically Notice of Electronic filing.



Dated: January 19, 2021                                /s/ Charles R. Haskell
                                                       Charles R. Haskell
                                                       Counsel for Defendant




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                           IN THE UNITED STATES DISTRICT COURT
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                              PLAINTIFF,

  v.
                                                               Case No. 1:21-mj-00020-GMH
                                                               Mag. Judge: G. Michael Harvey

  ADAM JOHNSON

                           DEFENDANT.

                                                 /

                                 ORDER GRANTING CONTINUANCE

             The Court has reviewed the Defendant Application for Continuance filed pursuant to

  LCrR 57.2 and will reschedule the Status Hearing set for January 19, 2021 at 1:00 to a date in

  February 2021. The Court finds that the continuance is made in the interests of justice under

  the Speedy Trial Act and the time that accumulates from January 19, 2021 to the hearing date

  is excludable time under Title 18, United States Code, Section 3161(h).


           IT IS SO ORDERED.



           DATED:



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                                                     G. MICHAEL HARVEY
                                                     MAGISTRATE JUDGE
                                                     UNITED STATES DISTRICT COURT




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